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                                                  s/ Thomas J. Barrack Jr.
                          s/ Sanket J. Bulsara
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